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                                      U.S. DEPARTMENT OF VETERANS AFFAIRS

                              School Certifying Official




                                             Handbook (On-line)

                                                                       Revision 6.7

                                                                        April 5 2023

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PREFACE

This on-line Handbook is written for VA Certifying Officials and anyone at a school involved with certification of
beneficiaries of VA education benefits. This on-line Handbook is a collaboration of the Regional Processing
Offices and EducationService and is intended to be the official source of information for VA Certifying Officials.
Certification instructions in this handbook are based on the use of Enrollment Manager (EM) and include general
information about the program.Enrollment (EM) is a VA Internet based application for certifying students. Detailed
information about EM is available at Enrollment Manager User Guide (va.gov)

Enrollment Manager (EM) electronic certification is required for all programs of education.

There are a number of additional resources that are available on the School Certifying Officials webpage,
including Online Training For New Certifying Officials. The web-based training course is required for new VA
Certifying Officials and is also useful as refresher training for existing VA Certifying Officials.

This on-line Handbook is hyperlinked. You may click on any hyperleink or Table of Contents entry and you will go
to that topic. Click on an Internet address or a cross-reference and you’ll go to that page on the Internet or in the
on-line Handbook itself.

This on-line Handbook should be viewed live on the internet which is the most recent updated version. The on-
line Handbook’s revision date is on the bottom of the cover page and there is a chronological list of revisions.




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  At least 36 months                                                                             100

  At least 30 continuous days on active duty (Must be                                            100
  discharged due to a service-connected disability)

  Awarded the Purple Heart                                                                       100

  At least 30 months, but less than 36 months (1)                                                  90

  At least 24 months, but less than 30 months (1)                                                  80 (3)

  At least 18 months, but less than 24 months (2) At least 12
  months, but less than 18 months (2)
                                                                                               70 (3)


  At least 06 months, but less than 18 months (2)                                                 60

  At least 90 days, but less than 06 months (2)                                                   50

               (1) Includes entry level and skill training.

              (2) Excludes entry level and skill training.

              (3) If the service requirements are met at both the 80 and 70 percentage level, the maximum
              percentage of 70 must be applied too amounts payable.
Education and Training Available Under chapter 33
Effective August 1, 2009. All programs had to be offered by a degree-granting institution of higher learning (IHL)
and approved for chapter 30. Approved programs included undergraduate degrees, graduate degrees,
professional degrees, and non-degree programs approved at the IHL. Additionally, tutorial assistance and
reimbursement for one licensing or certification test were available under chapter 33.

Students who elected chapter 33 and relinquished chapter 30, or 1606 received benefits for approved programs
not offered by an IHL (non-degree programs, flight training, correspondence courses, apprenticeship/on-the-job
training, preparatory courses, and national tests). These students were paid for these programs as if they were
still receiving benefits under the relinquished benefit, but their entitlement was charged under chapter 33.

Effective October 1, 2011. VA began paying Post-9/11 GI Bill® benefits to individuals pursuing the following
approved non-IHL non-degree programs.

       Non-College Degree (NCD) schools
       On-the Job Training (OJT) and Apprenticeship programs
       Flight Programs
       Correspondence courses
Individuals pursuing an approved program at an NCD school received the lesser of the following:

       The actual net cost for in-state tuition and fees after the application of any waiver, scholarship, aid, or
       assistance [other than loans and funds provided under section 401(b) of the Higher Education Act of 1965],
       or $17,500 for the academic year beginning on August 1, 2011.
       The amount of the yearly cap has been adjusted each year based upon a Cost of Living Adjustment
       (COLA)and is subject to proration based upon benefit level.
(Chapter 33 Benefit Payments38 CFR 21.9640)
Tuition and Fees
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Tuition and fees are paid directly to the school on behalf of the student when the school’s enrollment certification
is processed. Tuition and fees are prorated by the student’s benefit level.

Effective August 1, 2009, this was limited to the highest per credit hour tuition and the maximum fees charged
by a public institution for undergraduate training in the state where the student was enrolled. State caps for tuition
and fees are located at: http://www.benefits.va.gov/GIBILL/resources/benefits_resources/rate_tables.asp.
Students on active duty received the total amount of tuition and fees, not limited to the state maximum, or the
amount of charges that exceeded the amount paid by the military’s federal tuition assistance.

Effective August 1, 2011, the amount of tuition and fees payable for programs offered by IHLs changed. The in-
state, undergraduate state maximum amounts for tuition and fees no longer apply.

       U.S. Public Schools: The actual net cost for in-state tuition and fees after the application of any waiver,
       scholarship, aid, or assistance [other than loans and funds provided under section 401(b) of the Higher
       Education Act of 1965], provided directly to the institution and specifically designated for the sole purpose
       of defraying tuition and fees

       Private and Foreign Schools: The lesser of the actual net cost for tuition and fees after the application
       of any waiver, scholarship, aid, or assistance [other than loans and funds provided under section 401(b)
       of the Higher Education Act of 1965], provided directly to the institution and specifically designated for the
       sole purpose of defraying tuition and fees, or up to the academic year cap.

The amount of the yearly cap will be adjusted each year based upon a Cost of Living Allowance (COLA) and is
subject to proration based upon benefit level. Fees That Are Permissible to be Certified as part of “Tuition
and Fees.”

Only fees that are both mandatory and assessed before a student can attend a program are certifiable by
schools. The only exceptions are tuition, or room and board fees which are never certifiable. See 38 CFR §
21.9505.

Permissible mandatory charges are those assessed by a school (other than tuition, or room and board) that are
necessary for the pursuit of an approved program of education and are the same amount for all students (GI Bill
and non-GI Bill alike). Mandatory fees may be for items, such as books, that could possibly be obtained from a
source other than the school as long as the fee is assessed to all students.

Examples of mandatory fees include, but are not limited to, health premiums, freshman fees, graduation fees, and
lab fees, kit charges, supplies, equipment, or certain study materials.
Fees do not include study abroad course(s) unless the course(s) is a mandatory requirement for completion of
the approved program of education.
Fees do not include application fees.

Fees, and whether they are pre or post enrollment fees should be noted in the school’s catalog or supplement
and listed on the school’s billing statement or invoice.
NOTE: Generally, fees may not include expenses to satisfy enrollment or admission pre-requisites (costs
associated with program enrollment requirements that a student must complete prior to admission or enrollment;
out-of-pocket expenses paid by the student to qualify for admission, e.g., permits to operate training equipment,
drug screening, background checks, etc.). However, such expenses may be certified as fees if a school does not
require students to complete all admission requirements prior to enrolling and starting training, but only if the fees




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                    applies to         ¸ full-

                    chapter 30,        time rate
                    TA

                    amounts            × 30**
                    must

                    be identified
                    in

                    Remarks and

                    deducted
                    when

                    reporting.

       **Monthly amount payable for full-time institutional training
                                                                                                                 Back to Table of Contents
THE CERTIFICATION PROCESS

SUBMITTING ENROLLMENT CERTIFICATIONS

 Original Applications
If an original application is needed, do one of the following:

       If a student applied online, certify the student via EM and insert the “Student Applied Using va.gov” VA
       Standard Remark
       If the student already mailed the application, we don’t need another. Insert the VA Standard Remark
       “Application Sent Via US Mail”
       If the student completes and gives you an application, certify the student via EM and mail the student’s
       application to the RPO of jurisdiction. Either way, insert the VA Standard Remark “Application Sent Via US
       Mail”
       If a student asks to be certified retroactively for enrollment periods you haven’t certified previously, certify
       the previous periods the student asks you to certify. VA will determine the date of eligibility and the
       beginning date from which benefits can be paid
Chapter 30, 32, 35, and 1606 Enrollment Certifications
Certifications can be submitted 120 days before the term begins, but must be submitted w i t hi n 30 days of the
beginning of the term, unless training time is less than ½-time, the student is on active duty, or accelerated
payment is requested. If a student is less than ½-time, on active duty, or certified for accelerated payment the
certification must be submitted on or after the first day of class and tuition and fees must be reported.
Chapter 33 Enrollment Certifications
Schools should submit certifications as early as possible in order to ensure that students receive their benefit
payments in a timely manner, but certifications must be submitted within 30 days of the beginning of the term. An
effective way to minimize tuition and fees debts is for schools to submit an enrollment certification with $0.00, and
then amend the tuition and fees after the end of the drop-add period.
       If Tuition and Fees are known, submit the actual net cost for in-state tuition and fees for each term


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      If Tuition and Fees are unknown, submit the term dates, credits and enter $0.00 for these charges. This
      allows VA to begin paying the Monthly Housing Allowance on time
Once Tuition and Fees are determined (less any applicable waivers) submit an amended enrollment certification
of the actual net costs if the number of credit hours you certified has not changed.
Enrollment Changes under Post 9/11 after Tuition and Fees are Reported
       If the enrollment change occurs prior to the first day of the term, an adjustment should be submitted with the
       new hours and the associated Tuition and Fees
       If the enrollment change occurs on or after the first day of the term, an amendment should be submitted to
       report the tuition and fees for the original number of hours the student began the enrollment period with on
       the first day of the term
The next day, an adjustment should be submitted with the new hours and the tuition and fees associated with the
new hours.
See Certifying Tuition and Fees for specific instructions for submitting Tuition and Fees.
Effective August 1, 2011 – Tuition and Fees
Public Law 111-377 changes the amount of Tuition and Fee charges that should be reported to VA. For periods of
enrollment beginning on or after August 1, 2011, you should report the following charges:
The actual net cost for in-state tuition and fees assessed by the institution for the program of education after the
application of any waiver of, or reduction in, Tuition and Fees; and any scholarship, or other Federal, State,
institutional or employer-based aid or assistance (excluding loans and title IV funds) that is provided directly to the
institution and specifically designated for the sole purpose of defraying tuition and fees.



 Example: Student gross in-state charges                 $4,000

              Veteran Discount                              - 400

              Tuition Scholarship                         -2,000

              Title IV (ex. Pell Grant) *                  2,500

              General Scholarship*                         1,000

              Net In-State Charges                       $1,600

       Denotes to exclude calculating net cost

Aid or assistance that is designated for the sole purpose of reducing a student’s Tuition and Fee cost should be
deducted from the net in-state charges reported to VA.

In the above example the student also has a $1,000 scholarship from a local Veterans Service Organization. The
scholarship is general in nature and may be used to defray school costs such as food, housing, books, etc. Since
it’s not “specifically designated for the sole purpose of defraying tuition and fees”, it is not deducted from the
charges submitted to VA.
Only in-state charges should be reported in the Tuition Amount and Fee Amount fields. Any additional out-of-state
net charges should be reported in the Out of State Charges field if a contribution is being made under the Yellow
Ribbon Program.
An academic year is defined as August 1, YY through July 31, YY for chapter 33 purposes.

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An advance payment provides a student with benefit payments at the beginning of a school term to help the
student meet expenses concentrated at the beginning of the term. An advance payment pays the student’s
monthly benefit for the first and second month of the quarter or semester in advance. The first month will only pay
from the start date through the end of the month.

If you are interested in participating in advance payment, contact your ELR. Schools must certify they can carry
out the provisions of advance payment: Schools must handle advance paychecks securely and they must give
the advance paycheck to the student when he or she registers (or not more than 30 days before the beginning of
school if registration is earlier). Participation in advance payment is voluntary on the part of schools.

If a school participates in advance payment, it can be paid if:

       The student requests advance pay, and
       There’s more than 30 days between terms
       The student is enrolled at least half-time, and
       VA receives the advance payment request at least 30 days but not more than 120 days before the
       enrollment period
Create a form that students can sign and date to request advance pay. If a student wants advance pay, have the
student complete the form and staple it to the file copy of the Cert. If you have a signed request, check the
“Advance Pay” box when you create the student’s Cert for the quarter for which he or she is requesting advance
pay. The Cert will be annotated “Advance Payment Requested and Signature of Student on Record.”
Advance pay requests should be submitted 30 to 120 days before the begin date. The check will be sent to the
school, payable to the student. A separate, Certification of Delivery (VA Form 22-1999V) will be sent to the school.
When the check is given to the student, immediately complete and return the Certification of Delivery.
An advance will pay the first and second month. The first month may be a partial month, with payment prorated
for the number of days attended that month. Advance pay for a student certified September 20, 2010 through
June 10, 2011 would pay September 20, 2010 through October 30, 2010. Since VA normally pays after a month is
completed, the student wouldn't receive another check until December when payment for November is made.
When an advance paycheck is issued, the next check won't issue unless the Certification of Delivery (or the
chapter 1606 generated letter with the same information) mailed to the school is received and processed by VA. If
VA sends a letter that says a Certification of Delivery you returned wasn't received, do the following:
      Call VA (1-888-442-4551) and explain the problem to the Education Case Manager If the Certification of
      Delivery has not been input, ask the Education Case Manager to input the certification of delivery.

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CERTIFYING TUITION AND FEES

Tuition and Fees (Chapter 33)
Tuition
Tuition is the actual established charges for tuition the student is required to pay. Tuition is defined in the school’s
catalog or supplement and listed as tuition on the school’s billing statement or invoice.
Fees
Fees are mandatory charges (other than tuition, room, and board) applied by the school for pursuit of an
approved program of education. Fees include, but are not limited to, health premiums, freshman fees, graduation
fees, and lab fees. Fees do not include study abroad course(s) unless the course(s) is a mandatory requirement


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for completion of the approved program of education. Fees are defined in the school’s catalog or supplement and
listed on the school’s billing statement or invoice.

Examples of fees that are not allowed include, but are not limited to:
       Penalty fees (i.e. late registration, late course changes, returned checks, repeated courses)
       Add/drop course fees
       Fees for any food or lodging expenses, meal ticket fees
       Parking fees that are not required of every student
       Overload fees for course loads that require special permission
       Transportation/transit system fees that are not required of every

*Application for admission fees cannot be certified to VA. For specific information about other fees, contact your
ELR.
Report the Tuition and Fees charged to the student after deducting any amounts paid with Federal Funds,
excluding Federal Financial Aid Programs (title IV). Examples of non-title IV Federal funds include Reserve
Officers Training Corps (ROTC), Military Spouse Career Advancement Accounts (MyCAA), Health Professionals
Scholarship Program (HPSP), and Government Employees’ Training Act (GETA).

If the student is charged out-of-state tuition, the school will report the in-state Tuition and Fees on the enrollment
certification. If the school is participating in Yellow Ribbon to cover the out-of-state charges, indicate the school
contribution amount in the Yellow Ribbon Box, and insert the out-of-state charges in the “Out St Chg” field.
Effective August 1, 2009. The Post-9/11 GI Bill pays the highest public in-state undergraduate Tuition and Fees.
Report the Tuition and Fees charged to the student after deducting any amounts paid with Federal Funds,
excluding Federal Financial Aid Programs (title IV).

Effective August 1, 2011. US Public Schools. Report the actual net cost for in-state Tuition and Fees after the
application of any waiver, scholarship, aid, or assistance [other than loans and funds provided under section
401(b) of the Higher Education Act of 1965] provided directly to the institution and specifically designated for the
sole purpose of defraying Tuition and Fees.

Only in-state charges should be reported in the Tuition and Fee field. If a contribution is being made under the
Yellow Ribbon Program, any additional out-of-state net charges should be reported in the out-of-state field of the
Enrollment Certification.
Effective August 1, 2011. Private and Foreign Schools: Report the lesser of the actual net cost for Tuition and
Fees after the application of any waiver, scholarship, aid, or assistance [other than loans and funds provided
under section 401(b) of the Higher Education Act of 1965] provided directly to the institution and specifically
designated for the sole purpose of defraying Tuition and Fees.

Tuition and Fees shall be reported for all Chapter 33 students for each enrollment period. If a contribution is
being made under the Yellow Ribbon Program, the school should report their contribution within the Yellow
Ribbon Field. Private schools should always report the total net tuition charges regardless of whether the
designated cap has been attained (See the GI Bill® website for the most current applicable maximum as
determined by law).
Tuition and Fees (Chapters 30, 32, 35, and 1606)
Tuition and Fees must be reported for enrollment periods when training time is less than ½- time, when the
student is on active duty, and when accelerated payment is requested. If none of these conditions apply, Tuition
and Fees do not have to be reported and you can enter 0 in Tuition and in Fees.


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